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                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                        AT CLARKSBURG


         ASTRAZENECA AB and ASTRAZENECA
         PHARMACEUTICALS LP,

                               Plaintiffs,                 Civil Action No. 18-cv-193-IMK-RWT

                 v.

         MYLAN PHARMACEUTICALS INC. and
         KINDEVA DRUG DELIVERY L.P.,

                               Defendant.


         ASTRAZENECA AB and ASTRAZENECA
         PHARMACEUTICALS LP,

                               Plaintiffs,                 Civil Action No. 18-cv-203-IMK-RWT

                 v.

         MYLAN PHARMACEUTICALS INC. and
         KINDEVA DRUG DELIVERY L.P.,

                               Defendants.


                                    JOINT STIPULATIONS OF FACT

            For the purpose of this case only, the parties stipulate to the following facts which require

    no proof at trial:

    I.      THE PARTIES

            1.        Plaintiff AstraZeneca AB is a corporation organized and existing under the laws

    of Sweden, with its principal place of business at S-151 85 Södertälje, Sweden.

            2.        AstraZeneca AB is the current assignee and owner of U.S. Patent No. 10,166,247

    (“the ’247 patent”).


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           3.      Plaintiff AstraZeneca Pharmaceuticals LP is a limited partnership organized and

    existing under the laws of the State of Delaware, with its principal place of business at 1800

    Concord Pike, Wilmington, Delaware 19803.

           4.      Mylan Pharmaceuticals Inc. (“Mylan”) is a company organized and existing under

    the laws of the State of West Virginia, with a place of business at 781 Chestnut Ridge Road,

    Morgantown, West Virginia 26505.

           5.      Defendant Kindeva Drug Delivery L.P. (“Kindeva”) is a company organized

    under and existing under the laws of the State of Delaware, with a place of business at 42 Water

    Street, Building 75, St. Paul, Minnesota 55170.

    II.    SYMBICORT

           6.      Plaintiff AstraZeneca Pharmaceuticals LP is the holder of New Drug Application

    (“NDA”) No. 021929 for Symbicort®, which was approved by FDA on July 21, 2006.

           7.      Plaintiff AstraZeneca Pharmaceuticals LP sells and distributes Symbicort®

    throughout the United States.

           8.      The ’247 patent was submitted to FDA by AstraZeneca to be listed in FDA’s

    Approved Drug Products with Therapeutic Equivalence Evaluations (the “Orange Book”) for

    Symbicort®.

           9.      The active ingredients of Symbicort® are budesonide and formoterol fumarate

    dihydrate.

           10.     Symbicort® also contains the inactive ingredients polyvinylpyrrolidone (PVP

    with a nominal K-value of 25) (“PVP K25”) and polyethylene glycol with an average molecular

    weight of 1000 (“PEG 1000”) and the propellant l,1,1,2,3,3,3-heptafluoropropane (“HFA 227”).




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           11.     Symbicort® is a prescription drug approved for the treatment of asthma in

    patients 6 years of age and older and maintenance treatment in patients with chronic obstructive

    pulmonary disease including bronchitis and emphysema.

           12.     Symbicort® is an embodiment of claims 1–3 and 5–6 of the ’247 patent.

    III.   THE ’247 PATENT

           13.     The ’247 patent is entitled “Composition for Inhalation” and was issued by the

    United States Patent and Trademark Office (“PTO”) on January 1, 2019.

           14.     The ’247 patent issued from U.S. Application No. 15/427,425 (“the ’425

    application”), filed with the PTO on February 8, 2017.

           15.     The ’247 patent claims priority to Swedish patent application 0200312 (the “312

    application”), filed on February 1, 2002.

           16.     Nayna Govind and Maria Marlow are the named inventors of the ’247 patent.

           17.     JTX-2006 and JTX-2022 are true and accurate copies of the ’247 patent.

    IV.    ANDA NO. 211699 AND THE ANDA PRODUCTS

           18.     3M, through its 3M Drug Delivery Systems division, submitted ANDA No.

    211699 (“the ANDA”) to FDA under 21 U.S.C. § 355(j), in order to obtain approval to engage in

    the commercial manufacture, use or sale in the United States of Budesonide and Formoterol

    Fumarate Dihydrate Inhalation Aerosol, 80 mcg/4.5 mcg and 160 mcg/4.5 mcg (“the ANDA

    Products”), prior to the expiration of the ’247 patent.

           19.     The ANDA Products are generic versions of the two dosage forms of

    Symbicort®, the Reference Listed Drug (“RLD”).

           20.     By letter dated October 11, 2019 (“Notice Letter”), Mylan notified Plaintiffs that

    it had submitted a Paragraph IV certification under 21 U.S.C. § 355(j)(2)(A)(vii)(IV) as to the




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    ’247 patent to obtain approval to engage in the commercial manufacture, use, or sale of the

    ANDA Products prior to the expiration of the ’247 patent.

           21.    Kindeva will manufacture the ANDA Products.

           22.    The ANDA Products contain the active ingredients budesonide and formoterol

    fumarate dihydrate.


    Dated: May 11, 2022                                 Respectfully submitted,

    SCHRADER COMPANION DUFF & LAW, PLLC                 STEPTOE & JOHNSON PLLC

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